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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 15-1298V
                                      Filed: March 21, 2016
                                           Unpublished

****************************
NANCY BURTIS,                             *
                                          *
                     Petitioner,          *     Damages Decision Based on Proffer;
       v.                                 *     Influenza or Flu Vaccine; Shoulder
                                          *     Injury Related to Vaccine Administration
SECRETARY OF HEALTH                       *     (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                       *     (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Maximillian Muller, Muller Brazil LLP, Dresher, PA, for petitioner.
Julia McInerny, U.S. Department of Justice, Washington, DC, for respondent.

                                DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On November 2, 2015, Nancy Burtis (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 [the “Vaccine Act” or “Program”]. Petitioner alleges that she
suffered a shoulder injury caused in fact by the influenza vaccination she received on
October 16, 2014. Petition, at ¶¶ 3-4.

        On February 3, 2016, the undersigned issued a ruling on entitlement finding
petitioner entitled to compensation for her shoulder injury related to vaccine
administration (“SIRVA”). On March 21, 2016, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $128,489.80. Proffer
at 1. In the Proffer, respondent represented that petitioner agrees with the proffered


1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2012)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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award. Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

        Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $128,489.80 in the form of a check payable to
petitioner, Nancy Burtis. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                        s/Nora Beth Dorsey
                                        Nora Beth Dorsey
                                        Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS
____________________________________
                                      )
NANCY BURTIS,                         )    No. 15-1298
                                      )    ECF
       Petitioner,                    )    Chief Special Master Dorsey
                                      )
    v.                                )
                                      )
SECRETARY OF HEALTH                   )
AND HUMAN SERVICES,                   )
                                      )
       Respondent.                    )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$128,489.80, which represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $128,489.80 in the form of a check payable to petitioner.

Petitioner agrees.

                                                      Respectfully submitted,

                                                      BENJAMIN C. MIZER
                                                      Principal Deputy Assistant Attorney General

                                                      RUPA BHATTACHARYYA
                                                      Director
                                                      Torts Branch, Civil Division

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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
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                                                                   2




                                         VINCENT J. MATANOSKI
                                         Deputy Director
                                         Torts Branch, Civil Division

                                         LINDA S. RENZI
                                         Senior Trial Counsel
                                         Torts Branch, Civil Division

                                         /s/ Julia W. McInerny
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